Case 4:22-cv-00908-P Document 38 Filed 11/10/22    Page 1 of 1 PageID 565



                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

    MYRA BROWN, ET AL.,

         Plaintiffs,

    v.                                            No. 4:22-cv-0908-P

    U.S. DEPARTMENT OF EDUCATION,
    ET AL.,

         Defendants.


                             FINAL JUDGMENT
      This Final Judgment is issued pursuant to Federal Rule of Civil
   Procedure 58. Per the Order entered on November 10, 2022:

         It is ORDERED AND ADJUDGED that Final Judgment is entered
   in favor of the Plaintiffs.

      Plaintiffs’ Motion for Summary Judgment (ECF No. 3) is GRANTED
   and Defendants’ Motion to Dismiss (ECF No. 25) is DENIED.

         The Court DECLARES UNLAWFUL and VACATES the Program.

      The Clerk is DIRECTED to transmit a true copy of this Final
   Judgment to the Parties.

         SO ORDERED on this 10th day of November 2022.




                       Mark T. Pittman
                       UNITED STATES DISTRICT JUDGE
